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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




      UNITED STATES ex rel, EMILY         CV 17-8726 DSF (AFMx)
      ROE, et al.
           Plaintiffs,                    Order GRANTING Motion to
                                          Dismiss (Dkt. No. 63)
                      v.

      STANFORD HEALTHCARE
      BILLING DEPARTMENT, et al.,
           Defendants.



        On behalf of the United States and the State of California, Relator
     Emily Roe has brought this action under the federal False Claims Act
     and the California False Claims Act against Stanford Health Care and
     a variety of other Stanford-related entities and individuals. The Court
     previously dismissed Relator’s first amended complaint because she
     had not adequately pleaded that she qualified as an “original source” of
     the fraud allegations. Relator filed a second amended complaint, and
     Defendants again move to dismiss. The Court deems this matter
     appropriate for decision without oral argument. See Fed. R. Civ. P. 78;
     Local Rule 7-15.

        This matter can be dealt with succinctly because Relator has done
     essentially nothing to address the issue that caused the first amended
     complaint to be dismissed. As noted in the Court’s prior order, the
     fraud allegations are supported by Relator’s personal experience with
     Stanford Health Care when she underwent surgery at Stanford
     Hospital, evidence received via a Freedom of Information Act request,
     and information from prior lawsuits against Defendants. Information
     produced by the government in response to a FOIA request is a public
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     disclosure, Schindler Elevator Corp. v. U.S. ex rel. Kirk, 563 U.S. 401
     (2011), and information from prior lawsuits is obviously from public
     disclosures. Relator’s own experience was not publicly disclosed, but
     her experience was with private insurance and did not involve any
     government claim.

        Because the relevant FCA allegations are based on public
     disclosures, Relator must show that she is an “original source.” An
     original source is:

           an individual who either (1) prior to a public disclosure
           under subsection (e)(4)(a), has voluntarily disclosed to the
           Government the information on which allegations or
           transactions in a claim are based, or (2) who has knowledge
           that is independent of and materially adds to the publicly
           disclosed allegations or transactions, and who has
           voluntarily provided the information to the Government
           before filing an action under this section.

     31 U.S.C.A. § 3730(e)(4)(B).

        Only the second original source definition could apply to Relator
     because she did not disclose any of the Medicare information at issue to
     the government. The Court previously found that Relator has
     independent information relevant to the allegations because she has
     personal experience with Stanford that gives her the context for
     understanding the (alleged) falsity of the various claims made to the
     government. If anything, the Court was too generous in its legal
     interpretation of independent information. See U.S. ex rel. Aflatooni v.
     Kitsap Physicians Servs., 163 F.3d 516, 525-26 (9th Cir. 1999)
     (physician who concluded Medicare fraud was occurring based on
     conversations with patients and review of their records was not original
     source where physician could not provide information about specific
     Medicare patient).

        But even if her personal experience with private insurance claims
     could count as independent information under the FCA, Relator still
     has not addressed the problem previously noted by the Court – that her


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     personal experience does not appear to “materially add” to the public
     information. Relator has a single experience with incorrect billing that
     did not even involve a government claim. Relator’s failure to address,
     either in the second amended complaint or her opposition to the motion
     to dismiss, exactly how this single claim could materially add to the
     huge amount of public information Relator has relied on confirms the
     Court’s prior conclusion that “little can be inferred from a single
     instance of incorrect billing.”

         The motion to dismiss is GRANTED. The Court declines to grant
     further leave to amend. The Court provided direct guidance on why the
     first amended complaint was dismissed and what would need to be
     shown in any second amended complaint. Essentially nothing was
     added to bolster Relator’s claim to be an original source under the
     meaning of the FCA. Nor do Relator’s arguments in her opposition
     provide any indication of a potential ability to overcome what appears
     to be the obvious conclusion – the only independent information Relator
     brings to the case is her single experience with private insurance that
     does not materially add to the public information she bases her case on.

        IT IS SO ORDERED.



      Date: July 13, 2020                   ___________________________
                                            Dale S. Fischer
                                            United States District Judge




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